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 10   The Trust Board

11
                                     UNITED STATES BANKRUPTCY COURT
 12                                   CENTRAL DISTRICT OF CALIFORNIA
                                       SAN FERNANDO VALLEY DIVISION
13

14    In re:                                                      Lead Case No.: 1:17-bk-12408-MB
                                                                  Jointly administered with:
15    ICPW Liquidation Corporation, a California                  1:17-bk-12409-MB Chapter 11 Cases
      corporation,'
16                  Debtor and Debtor in Possession. REPLY TO OPPOSITION MOTION TO
                                                     ESTIMATE CLAIMS NO. 7 AND 8 FILED
17                                                   BY JEFFREY CORDES AND WILLIAM
      In re:                                         AISENBERG PURSUANT TO 11 U.S.C.
18                                                   § 502(c)
      ICPW Liquidation Corporation, a Nevada
19    corporation,                                   DATE:    April 10, 2018
                    Debtor and Debtor in Possession. TIME:    1:30 p.m.
20                                                   PLACE:   Courtroom "303"
                                                              21041 Burbank Boulevard
21       Affects:                                             Woodland Hills, California 91367

22    12< Both Debtors

23    E     ICPW Liquidation Corporation, a California
            corporation
24
      ❑ ICPW Liquidation Corporation, a Nevada
25      corporation

26

27
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28    2   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.



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  1              Matthew A. Pliskin, the trustee (the "Trustee"), under the trust created pursuant to the
  2   Debtors and Official Committee of Equity Security Holders Joint Plan of Liquidation Dated
  3
      February 9, 2018 (the "Plan"), and that certain trust agreement dated as of February 28, 2018 (the
  4
      "Trust Agreement"), entered into by and among the Trustee, ICPW Liquidation Corporation, a
  5
      California corporation, formerly known as Ironclad Performance Wear Corporation, a California
  6

  7   corporation, and ICPW Liquidation Corporation, a Nevada corporation, formerly known as

  8   Ironclad Performance Wear Corporation, a Nevada corporation, and the Trust Board established

  9   under the Plan and Trust Agreement, hereby submit this reply to the opposition [Docket No. 483]
 10
      filed by Jeffrey Cordes and William Aisenberg (collectively, the "Former Officers") to the
 11
      Motion To Estimate Claims No. 7 And 8 Filed By Jeffrey Cordes And William Aisenberg
 12
      Pursuant To 11 U.S.C. § 502(C) (the "Motion"), and the limited objection (the "Limited
 13
      Objection") filed by QBE Insurance Company ("QBE") [Doc. 484], as respectfully represent as
 14

 15   follows:

 16                                                      I.

 17                                             INTRODUCTION
 18
                 Based on the responses filed by the Former Officers and QBE, the maximum "estimate"
 19
      for Claim Nos. 7 and 8 filed by the Former Officers is $546,313.50. This is established by the
 20
      terms of their Indemnification Agreements [Doc. 474, Ex. A] and the acknowledgment of QBE
 21
      that the Former Officers' defense costs in the adversary proceeding (the "Adversary Proceeding")
 22

 23   will be paid under the D&O Policy, subject to the maximum retention obligation under the policy

 24   [Doc. 483 Ex. A at p. 5 of 7].

 25              The calculation of this maximum liability is straightforward. The Former Officers' proofs
 26
      of claim have two components: (i) severance and (ii) defense costs against the clams by the Trust.
 27
      The maximum of their severance claims is $296,313.50 (the "Maximum Severance Amount"),
 28


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  1   but is contingent given the Former Officers' misconduct. Their defense costs, at least insofar as
  2   the Debtors' obligation, are capped at $250,000. This is because the D&O Carrier is reimbursing
  3
      the Former Officers for all fees and expenses above the Debtors' self-insured retention obligation
  4
      (or "SIR Obligation"), which is capped at either $100,000 or $250,000, and under the
  5
      Indemnification Agreements        8(d)), the Debtors are not liable to the indemnitees for "expenses
  6

  7   or liabilities . . . which have been fully paid directly to Indemnitee by an insurance carrier under a

  8   policy of officers' and directors' liability insurance [1"

  9               Thus, the maximum estimate for the Former Officers' Amended Claims 7 and 8 are
 10
      calculated as follows:
 11
      Cordes Severance Claim:                                                               $166,906.75
 12   Aisenberg Severance Claim:                                                            $129,406.75
 13   SIR Obligation:                                                                       $250,000.00
      Maximum Estimated Liability for Claims 7 and 8:                                       $546,313.50
 14

 15
                  Though $546,313.50 is the "maximum" amount of the estimated liability, the actual
 16
      reserve should be zero because (i) the Former Officers' claims in excess of severance were late-
 17
      filed for the reasons set forth in the Motion, and (ii) the severance claim is patently hopeless
 18
      because of the Former Officers' bad conduct, as summarized in the Debtors' public filings under
 19

 20   the federal securities laws, as detailed in the Adversary Complaint, and which is the subject of the

 21   SEC's investigation. Finally, the Plan does not require the Trustee to reserve amounts for claims

 22   that the Former Officers did not preserve in their proofs of claim and/or claims that are not
 23
      indemnifiable.
 24
                                                        II.
 25
                                           STATEMENT OF FACTS
 26
                  1.    On March 12, 2018, the Trustee moved to estimate Claim Nos. 7 and 8 filed by the
 27

 28   "Former Officers" [Doc. 474]. In the Motion, the Trustee demonstrated:


                                                        4
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  1                  a. that the Former Officers' amended indemnity claims are time barred;
  2                  b. that, even if timely sought, the Former Officers were not entitled to
  3
                        indemnification under the Indemnification Agreements or the Debtors' bylaws;
  4
                     c. that the Former Officers' severance claims were not likely to succeed because their
  5
                        severance rights were voidable because the Former Officers failed to disclose the
  6

  7                     Board of Directors that they had manipulated Ironclad's revenues; and

  8                  d. that a fair estimate of the Former Officers' claims could easily be reduced to $0,

  9                     but $500,000 would be a reasonable reserve.
 10
                 2. As set forth above, both the Former Officers and the Debtors' insurance D&O carrier,
 11
                     QBE, responded to the Motion [Docs. 483 and 484, respectively].
 12
                 3. In its Limited Objection, QBE contends that the Estate is required "to actually pay
 13
                     $250,000 in expenses or attorneys' fees towards the former officers' indemnification
 14

 15                  claims before any amounts under the Policy become available." Thus, QBE objected

 16                  to the "Trustee's Estimation Motion to the extent necessary to ensure that $250,000 is

 17                  factored into the estimation so that the Debtors' [sic] are in full compliance with their
 18
                     SIR [self-insurance retention] obligations under the Policy."
 19
                 4. In their response, the Former Officers claim that their indemnity claims are not time
 20
                     barred because their claims, although late, were informally presented or otherwise part
 21

 22                  of their originally (timely) proofs of claims.    They also argue that they properly

 23                  noticed and requested indemnification (simply untrue) and that they are entitled to

 24                  indemnification under their Indemnification Agreements. Including their severance
 25                  claims ($166,906.75 for Cordes and $129,46.75 for Aisenberg), the Former Officers
 26
                     request that the Court estimate their claims at $1,296,313.50, which is $1 million over
 27
                     the Maximum Severance Amount.
 28


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  1                                                          III.
  2                                                     ARGUMENT
  3
      A.          THE FORMER OFFICERS ADMIT                         THAT    THEIR INDEMNIFICATION
  4               CLAIMS ARE UNTIMELY.

  5               Recognizing as they must that their claim for indemnification was late, the Former

  6   Officers argue that their "Relief from Stay Motion," which they filed on October 20, 2017 [Dkt
  7
      132], amounted to an "informal proof of claim." They go so far as to say that the "entire factual
  8
      underpinning to [their] Relief from Stay motion was Debtor's refusal to indemnify the Insured,
  9
      which necessitated access to insurance proceeds." [Dkt 483          ¶ 22].   But that is simply not so. At
 10
      no relevant time did the Former Officers demand indemnification. Rather, they sought direct
 11

 12   access to the Policy, which is clearly stated in their Relief from Stay Motion:

 13                     Movants respectfully request that the Court enter an order
                        modifying the automatic stay to allow Movants (i) to proceed with
 14                     the AAA Proceeding; and (ii) to pursue insurance coverage
                        proceeds to which they may be, or may become, entitled.
 15
      Relief from Stay Motion, at 7.
 16
                  Similarly, in their supporting declarations, Cordes and Aisenberg did not demand
 17

 18   indemnity from the company, but from the insurance carrier: "I incurred, and expect to incur,

 19   legal expenses that are recoverable as an insured under Directors and Officers indemnity coverage

 20   [.]" [Dkt 133-1 at      ¶ 3, see   also   ¶ 10;   Dkt 132-2 at ¶ 3, see also ¶ 10]. Indeed, Cordes and
 21
      Aisenberg all but disavowed a direct claim for indemnity against the Debtors for the very reason
 22
      that they had insurance coverage:
 23
                        Furthermore, to the extent the insurance Policy covers my legal
 24                     fees in expenses that have been required as a result of actions by
                        Debtors, proceeds will issue from the insurance carrier as opposed
 25                     to the Debtors. Neither the Debtors nor any creditors will be
                        prejudiced by permitting me to pursue coverage.
 26
      [Dkt 133-1 at AR14].
 27

 28


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  1               The foregoing highlights why the Formers Officers' argument that the Relief from Stay
  2   Motion is an informal proof of claim is fatally flawed and why their citation to In re Gianulias,
  3
      2013 WL 1397430, at *9 (B.A.P. 9th Cir. Apr. 5, 2013) and other cases are unavailing. See
  4
      Opposition, at 2. The elements set forth in those cases required for an informal proof of claim
  5
      expose the defect in the Former Officers' argument because there was (ii) no "writing" requesting
  6

  7   indemnification, only a Relief from Stay Motion specifically disavowing a direct claim for

  8   indemnity and proofs of claim not asserting indemnity claims, (ii) "within the time for the filing

  9   of claims," (iii) on "behalf of the Former Officers, (iv) "bringing to the attention of the court,"
 10
      and (v) "the nature and amount of the indemnity claim." Simply put, no pre-Bar-Date Court
 11
      filing came close to describing the "nature and amount" of the Former Officers' claim for
 12
      indemnification for attorneys' fees. This is far different than Haw., Inc. v. Shakeys, Inc. (In re
 13
      Pizza of Haw., Inc., 761 F.2d 1374, 1381-82 (9th Cir. 1985), which involved (i) a request for
 14

 15   relief from the automatic stay that stated the creditor intended to join the debtor as a defendant in

 16   a civil suit, and, thus, the Ninth Circuit found that was evidence of intent to hold the debtor's

 17   estate liable, and (ii) documents attached as exhibits to the complaint for relief from stay motion
 18
      that detailed the nature and contingent amount of the claim. In In re Fish, 456 B.R. 413, 418
 19
      (B.A.P. 9th Cir. 2011), the creditor filed written motions setting forth the amounts due on each
 20
      loan and the intent to hold the debtor liable for the deficiencies -- again, wholly distinguishable
 21
      from the declarations of the Former Officers that disavowed a direct claim for indemnity against
 22

 23   the Debtors.

 24               Finally, the Former Officers do not seriously dispute their failure to comply with the
 25   condition precedent for indemnification under the Indemnification Agreement: i. e. , "notice in
 26
      writing as soon as practicable of any Claim made against Indemnitee for which indemnification
 27
      will or could be sought under this Agreement." [Doc. 474, Ex. A, at ¶ 2(b)]. The notice must be
 28


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  1   given by the indemnified person to the CEO of the company. The Former Officers try to skirt the
  2   issue, attaching a December 14, 2017 letter from QBE to the Debtor's counsel, Stubbs Alderton
  3
      & Markiles, LLP. [Doc. 484 at ¶ 31 and Ex. B]. That letter is not a demand under ¶ 2(b), nor is it
  4
      provided by the Former Officers to the Debtors' CEO. It is merely a request by QBE to the
  5
      counsel asking it to advise as to "whether Ironclad is able to honor its indemnification obligations
  6

  7   to Messrs. Aisenberg, Cordes and Felton."

  8               The answer to QBE's question is axiomatic: no indemnification obligation ripens until and

  9   unless the Former Officers submit a formal notice and demand, which they had not and have not
 10
      done.
 11
      B.          THE FORMER OFFICERS' CLAIMS SHOULD BE ESTIMATED AT $0 BASED
 12               ON THE UNDISPUTED AGREEMENTS, THE APPLICABLE LAW, AND THE
                  PARTIES' PLEADINGS.
 13
                  The Former Officers seek indemnification of their legal fees and expenses "for claims
 14
      against the Insured [i.e., the Former Officers] initiated by the Debtors." [Doc. 483 at ¶ 32].
 15
      Those claims are for: (1) breach of fiduciary duty; (2) Civil RICO; (3) Declaratory Judgment (to
 16

 17   void the amendments to their employment agreements that provide severance); (4) Breach of

 18   Contract; and (5) Faithless Servant.

 19               None of these claims is indemnifiable by the Debtors for the simple reason that they are
 20
      already being paid under the D&O Policy. The D&O carrier's March 8, 2018 letter [Doc. 483, Ex
 21
      A) makes this clear. There, QBE confirms that it has already "determined that coverage is
 22
      triggered for the Adversary Proceeding."
 23
                  Because QBE is covering the Former Officers' legal fees and expenses, no claim exists
 24

 25   under the Indemnification Agreements. Paragraph 8(d) of the Indemnification Agreements is the

 26   relevant provision. It excludes the obligation to indemnify the Former Officers for amounts

 27   "which have been paid directly to Indemnitee by an insurance carrier under a policy of officers'
 28
      and directors' liability insurance". This exclusion makes perfect sense. The Debtors obtained

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  1    D&O insurance for the very reason presented here: to insure against the costs and expenses of
  2    providing a defense to its directors and officers for covered losses, which is broadly defined to
  3
       include most of the fees and expenses that the Former Officers are incurring.
  4
                  It is true that the D&O policy is not covering all the Former Officers' legal fees and
  5
       expenses. But the exclusions on the D&O Policy mirror those under the Former Officers'
  6

  7    Indemnification Agreements. Thus, the D&O Carrier has limited its coverage obligation to the

  8    extent that the Adversary Complaint seeks to void the Former Officers' severance agreements.

  9    That claim is the flip side of the Former Officers' severance claims, which is not indemnifiable

       under the plain language of paragraphs 8(b) and 8(g) of the Indemnification Agreements (the

       exclusion for indemnification for "Claims Initiated by Indemnitee" and claims for "Breach of

       Employment Agreement (If 8(g)).

       C.         THE FORMER OFFICERS' CLAIM FOR LEGAL FEES IS BASED ON
                  SPECULATION.

                  It is not necessary to examine the Former Officers' indemnification claim for legal fees

       and expenses because, as shown above, no such claim exists given their coverage under the D&O
 17
       policy. But were the claim to be considered, it is readily revealed as an exercise in obfuscation.
 18
                  The Former Officers proffer the Declaration of their attorney, Todd Murray. Mr. Murray
 19

 20    estimates that "the total costs of defending the Insureds' Claims, through trial, will cost in excess

 21    of $825,000 — and potentially in the range of $1,000,000." (Murry Decl. ¶ 7). In presenting this

 22    estimate, Mr. Murray fails to provide the Court with essential information, including (a) his firm's
 23
       contract with the Former Officers, (b) the professionals and paraprofessionals who would be
 24
       involved in the assignment, and (c) their hourly billing rates. Mr. Murray also makes no effort to
 25
       describe how he discriminates between the fees and expenses for work that is potentially
 26
       indemnifiable from the work that is not. Nor does he explain how the Former Officers would
 2'7

 28    account for work that is relevant both to indemnifiable and non-indemnifiable claims.


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                  The Murray Declaration reveals that the Former Officers' untimely amended proofs of
  2   claims are based on groundless speculation, unsupported by data and without regard to the
  3
      essential distinctions between claims that are and are not potentially indemnifiable.
  4


                                                  CONCLUSION
  6

  7               Having inflicted millions of dollars of damages on the Debtors' equity holders, the Former

  8   Officers are now they just twisting the knife. How else can they justify filing a proof of claim for

  9   "losses" that are already being reimbursed by the D&O Carrier? In this vein and given the
 10
      inexcusable tardiness of the Former Officers demand and that their severance claims are
 11
      substantively hopeless, any estimated reserve is but a matter of grace. But at most, the Former
 12
      Officers' Claim Nos. 7 and 8 can be estimated at no more than 5546,313.50.
 13

 14

 15   TRUSTEE AND TRUST BOARD                              TRUSTEE AND TRUST BOARD

 16
      By:                                                  By: /s/ Tcmn/a    AlayI011
 17        ANDREW T. SOLOMON                                  TANIA M. MOYRON
      SOLOMON & CRAMER LLP                                     SAMUEL R. MAIZEL
 18
      Special Litigation Counsel to Matthew A.             DENTONS US LLP
 19   Pliskin, as the Trustee, and the Trust Board         Attorneys for Matthew A. Pliskin, as the
                                                           Trustee, and the Trust Board
 20

 21



 23

 24
 25

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 27
 28


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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify): REPLY TO OPPOSITION MOTION TO ESTIMATE
CLAIMS NO. 7 AND 8 FILED BY JEFFREY CORDES AND WILLIAM AISENBERG PURSUANT TO 11 U.S.C.
SECTION 502(c) will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:     -

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 3, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

      •   Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
      •   Ron Bender rb@Inbyb.com
      •   Cathrine M Castaldi ccastaldi@brownrudnick.com
      •   Russell Clementson russell.clementson@usdoj.gov
      •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
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      •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
      •   Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
      •   Douglas Wolfe dwolfe@asmcapital.com

                                                                                           ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 3, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

                                                                                           El   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 3, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                          Ej    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 3, 2018              Christina O'Meara                                                       /s/Christina O'Meara
 Date                               Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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SERVED BY U.S. MAIL:

Secured Creditor                                        Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                           Holdings                                            Commission
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                                                        Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                                Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                           Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                             P.O. Box 2952                                       P.O. Box 942879
                                                        Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                            Office of Unemployment
Bankruptcy Group MIC 92E                                Compensation Tax Services
P.O. Box 826880                                         Department of Labor and Industry
Sacramento, CA 94280-0001                               Commonwealth of Pennsylvania
                                                        651 Boas Street, Room 702
                                                        Harrisburg, PA 17121

Trust Board - SERVED BY EMAIL
Patrick W. O'Brien                                      Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                       1524 N. Astor Street                                938 Duncan Avenue
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Trustee - SERVED BY EMAIL
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Tampa, Florida 33609
Email:
matthew@icpwliquidation.com




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June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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